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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                        *       CHAPTER 7
                                              *
THE REPUBLIC ATLANTA, INC.                    *       CASE NO. 22-55390
                                              *
Debtor.                                       *

                          NOTICE OF APPEARANCE OF COUNSEL

          PLEASE TAKE NOTICE that the undersigned appears for the Georgia Department of

Revenue in the above styled case. Please direct all notices given or required to be given in this

case and all papers served in this case be given to and served upon the undersigned at the address

and telephone number set forth below:

                                         Amy L. Patterson
                                    Assistant Attorney General
                                     40 Capitol Square, S.W.
                                      Atlanta, Georgia 30334
                                    Telephone: (404) 458-3567
                                       Fax: (404) 657-3239
                                      apatterson@law.ga.gov
                                        Ga. Bar No. 887808


         Respectfully submitted this 28th day of July, 2022.


                                             CHRISTOPHER M. CARR                  112505
                                             Attorney General

                                             JULIE ADAMS JACOBS                   003595
                                             Deputy Attorney General

                                             BROOKE HEINZ CHAPLAIN                927752
                                             Senior Assistant Attorney General

                                             /s/ Amy L. Patterson
                                             AMY L. PATTERSON                     887808
                                             Assistant Attorney General




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                                 CERTIFICATE OF SERVICE


       I certify that I am over the age of 18 and that on the date written below a copy of the
foregoing Notice of Appearance was served by email or by first class U.S. Mail, with adequate
postage prepaid on the following persons or entities at the addresses stated:

Leonard R. Medley, III, Counsel for Debtor
Medley & Associates, LLC
2727 Paces Ferry Rd.
Bldg. 2, Suite 1450
Atlanta, GA 30339

The Republic Atlanta, Inc., Debtor
990 Brady Ave. NW
Atlanta, GA 30318

S. Gregory Hays, Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Road, Suite 555
Atlanta, GA 30305

United States Trustee
362 Richard Russell Federal Building
75 Ted Turner De, SW
Atlanta, GA 30303

by placing the same into the United States mail with adequate, first-class postage placed thereon.

       This 27th day of July, 2022.


                                                     /s/ Amy L. Patterson
                                                     AMY L. PATTERSON                      887808
                                                     Assistant Attorney General

PLEASE ADDRESS ALL
COMMUNICATIONS TO:
Amy L. Patterson
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